                                                                                                  Case 2:17-cv-02866-JCM-DJA Document
                                                                                                  Case 2:17-cv-02866-JCM-DJA Document 60
                                                                                                                                      61 Filed
                                                                                                                                         Filed 09/17/20
                                                                                                                                               10/02/20 Page
                                                                                                                                                        Page 1
                                                                                                                                                             1 of
                                                                                                                                                               of 2
                                                                                                                                                                  2




                                                                                            1   ANTHONY L. MARTIN
                                                                                                Nevada Bar No. 8177
                                                                                            2   anthony.martin@ogletreedeakins.com
                                                                                                SUZANNE L. MARTIN
                                                                                            3
                                                                                                Nevada Bar No. 8833
                                                                                            4   suzanne.martin@ogletreedeakins.com
                                                                                                OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
                                                                                            5   Wells Fargo Tower
                                                                                                Suite 1500
                                                                                            6   3800 Howard Hughes Parkway
                                                                                                Las Vegas, NV 89169
                                                                                            7
                                                                                                Telephone: 702.369.6800
                                                                                            8   Fax: 702.369.6888

                                                                                            9   Attorneys for Defendant Capital One Services, LLC
O gletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                           10                                 UNITED STATES DISTRICT COURT
                                                                                           11
                                                                                                                               FOR THE DISTRICT OF NEVADA
                                                                                           12
                                                  Suite 1500, 3800 Howard Hughes Parkway




                                                                                                NATASHA PORTEOUS on behalf of herself                Case No.: 2:17-cv-02866-JCM-DJA
                                                                                           13   and all others similarly situated,
                                                          Telephone: 702.369.6800
                                                            Las Vegas, NV 89169
                                                             Wells Fargo Tower




                                                                                                                                                       STIPULATION AND [PROPOSED]
                                                                                           14                          Plaintiffs,                   ORDER TO STAY ALL PROCEEDINGS
                                                                                           15   vs.                                                        PENDING SETTLEMENT
                                                                                                                                                               DISCUSSIONS
                                                                                           16   CAPITAL ONE SERVICES II, LLC and
                                                                                                DOES 1 through 50, inclusive,                                   (SECOND REQUEST)
                                                                                           17
                                                                                                                       Defendant(s).
                                                                                           18

                                                                                           19          Plaintiff Natasha Porteous (“Plaintiff”) and Defendant Capital One Services, LLC
                                                                                           20   (erroneously named as Capital One Services, II, LLC) (“Defendant”), by and through their
                                                                                           21   respective counsel of record, hereby stipulate and agree to stay all proceedings in this action for an
                                                                                           22   additional forty-five (45) days from the date of the signing of an Order to allow the parties time to
                                                                                           23   continue settlement discussions.
                                                                                           24          The parties agree to notify the Court at the end of the 45-day stay whether the parties were
                                                                                           25   able to resolve the matter.
                                                                                           26   ...
                                                                                           27   ...
                                                                                           28   ...
                                                                                                  Case 2:17-cv-02866-JCM-DJA Document
                                                                                                  Case 2:17-cv-02866-JCM-DJA Document 60
                                                                                                                                      61 Filed
                                                                                                                                         Filed 09/17/20
                                                                                                                                               10/02/20 Page
                                                                                                                                                        Page 2
                                                                                                                                                             2 of
                                                                                                                                                               of 2
                                                                                                                                                                  2




                                                                                            1          IT IS SO STIPULATED.

                                                                                            2   DATED this 17th day of September, 2020.    DATED this 17th day of September, 2020.

                                                                                            3   THIERMAN BUCK LLP                          OGLETREE, DEAKINS, NASH, SMOAK & STEWART,
                                                                                                                                           P.C.
                                                                                            4
                                                                                                /s/ Joshua D. Buck                         /s/ Suzanne L. Martin
                                                                                            5
                                                                                                Mark R. Thierman                           Anthony L. Martin,
                                                                                            6   Nevada Bar No. 8285                        Nevada Bar No. 8177
                                                                                                Joshua D. Buck                             Suzanne L. Martin
                                                                                            7   Nevada Bar No. 12187                       Nevada Bar No. 8833
                                                                                                Leah L. Jones                              Wells Fargo Tower
                                                                                            8   Nevada Bar No. 13161                       Suite 1500
                                                                                            9   7287 Lakeside Drive                        3800 Howard Hughes Parkway
                                                                                                Reno, NV 89511                             Las Vegas, NV 89169
                                                                                           10   Attorneys for Plaintiff                    Attorneys for Defendant Capital One Services,
O gletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                                                                           LLC
                                                                                           11

                                                                                           12
                                                                                                                                          ORDER
                                                  Suite 1500, 3800 Howard Hughes Parkway




                                                                                           13
                                                                                                       IT IS SO ORDERED.
                                                          Telephone: 702.369.6800
                                                            Las Vegas, NV 89169
                                                             Wells Fargo Tower




                                                                                           14
                                                                                                                                  _____________________________________
                                                                                           15                                     UNITED STATES DISTRICT JUDGE
                                                                                           16                                      October 2, 2020
                                                                                                                                  ______________________________________
                                                                                           17                                     DATED

                                                                                           18

                                                                                           19

                                                                                           20

                                                                                           21

                                                                                           22

                                                                                           23

                                                                                           24

                                                                                           25

                                                                                           26
                                                                                           27

                                                                                           28


                                                                                                                                            2
